                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                            CIVIL ACTION NO.5:03CR12-V


UNITED STATES OF AMERICA,                               )
                                                        )
                                                        )
            v.                                          )               ORDER
                                                        )
ERIC BERNARD SMITH,                                     )
                                                        )
                          Defendant.                    )
_________________________________________________ )



         THIS MATTER is before the Court on the Defendant’s “Motion for Admission [Pro Hac

Vice]” (document #319) of defense counsel James Q. Butler. For the reasons set forth therein, the

Motion will be GRANTED.

         Pursuant to Local Rule 83.1(B), counsel shall remit the required admission fee of $100.00

to the Clerk of Court for the Western District of North Carolina within twenty-one (21) days of this

Order.

         The Clerk is directed to send copies of this Order to counsel for the parties, including but not

limited to moving counsel; and to the Honorable Richard L. Voorhees.

         SO ORDERED.

                                                        Signed: October 15, 2007




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